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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

ANTHONY KEVIN MCCULLOUGH,                       )
                                                )
                       Plaintiff,               )
                                                )
       v.                                       )     CASE NO. 3:18-CV-00017-RLM-SLC
                                                )
ALICIA SEROCYNSKI, PH.D., and                   )
KENNETH WATTS,                                  )
                                                )
                       Defendants.              )

                                       GENERAL DENIAL

       Defendant, Alesha Seroczynski, Ph.D. (incorrectly named in the Amended Complaint as

Alicia Serocynski), by counsel and pursuant to Fed. R. Civ. P. 8(b)(3), denies each and every

allegation of Plaintiff’s Amended Complaint.


                                    AFFIRMATIVE DEFENSES

       1.      Plaintiff has failed to state a claim upon which relief may be granted.

       2.      Plaintiff may be greater than fifty percent (50%) at fault in causing the injuries

alleged in the Complaint.

       3.      Plaintiff’s claims are barred by the doctrine of estoppel.

       4.      Any allegation in Plaintiff’s Complaint not therefore specifically admitted or

denied is now specifically denied.

       5.      Defendant reserves the right to plead additional affirmative defenses.

       WHEREFORE, Defendant, by counsel, respectfully requests that the Court enter judgment

in her favor and against Plaintiff, that Plaintiff takes nothing by way of his Complaint, and for all

other just and proper relief in the premises.
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                                                       Respectfully submitted,

                                                       SOPKO, NUSSBAUM, INABNIT & KACZMAREK

                                                       By: /s/ Richard A. Nussbaum, II
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                                                       Attorney for Alesha Seroczynski

                                               CERTIFICATE OF SERVICE

          I hereby certify that on April 4, 2019 I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which sent notification of such filing to the following:

Jordan M. Stover (jordan.stover@atg.in.gov)
Ryan J. Guillory (Ryan.Guillory@atg.in.gov)
Indiana Attorney General's Office - IAG/302
Indiana Government Center South
302 W Washington St 5th Fl
Indianapolis, IN 46204-2770

          And I hereby certify that I have mailed by United States Postal Service the document to

the following non-CM/ECF participant:

Anthony Kevin McCullough, pro se
943257
Plainfield Correctional Facility
727 Moon Road
Plainfield, IN 46168

                                                        /s/ Richard A. Nussbaum, II
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